                Case: 18-11163       Doc: 20     Filed: 05/09/18     Page: 1 of 3




Dated: May 9, 2018
The following is ORDERED:




  __________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA


In Re:

Joseph Paul Fanning
                                                     Case No. 18-11163-JDL
SSN: XXX-XX-6562                                     Chapter 13



                        ORDER TO EMPLOYER TO PAY TRUSTEE

         The above-named debtor has filed a Petition under Chapter 13 of the Bankruptcy Code

and has submitted future income to the jurisdiction of this Court.

         IT IS THEREFORE ORDERED that until further notice of this Court, or the Trustee, the

entity from whom the debtor receives income:

                                  ALLIANCE MECHANICAL
                                      ATTN:PAYROLL
                                      1544 SE 39TH ST
                                 OKLAHOMA CITY, OK 73129
                 Case: 18-11163     Doc: 20      Filed: 05/09/18     Page: 2 of 3




shall deduct from said income the sum of $159.12 WEEKLY beginning on the day following

receipt of this Order, and shall deduct a similar amount WEEKLY and shall remit the deducted

sums IMMEDIATELY after each pay period to:

                                       John Hardeman
                                   CHAPTER 13 TRUSTEE
                                      PO BOX 613309
                                  MEMPHIS, TN 38101-3309

       IT IS FURTHER ORDERED that all income of the debtor, except the amounts required

to be withheld for taxes, social security, insurance, mandatory pension, union dues, repayment of

pension loans, or as a result of another Order of this Court, be paid to the debtor in accordance

with usual payment procedure.

       IT IS FURTHER ORDERED that no deductions for account of a garnishment, wage

assignment, or other purpose not specifically authorized by this Court can be made from the

income of said debtor. However, the withholding of funds for the payment of a domestic support

obligation pursuant to an Order or a statute directing such withholding is specifically authorized

by this Court.

       IT IS FURTHER ORDERED that this Order supercedes previous Orders directing

payment of a fixed sum from the pay of the debtor.

       IT IS FURTHER ORDERED that the Trustee is hereby authorized to notify the

above-mentioned employer with any payroll deduction changes that may occur throughout the

remainder of this Chapter 13 case, or to terminate this Order upon debtor being no longer under

Chapter 13, or for appropriate cause.
             Case: 18-11163   Doc: 20   Filed: 05/09/18   Page: 3 of 3




APPROVED FOR ENTRY:

s/John Hardeman
John Hardeman, Trustee
321 Dean A. McGee Avenue
PO Box 1948
Oklahoma City, OK 73101
13trustee@chp13okc.com
Tel: (405) 236-4843
Fax: (405) 236-1004                                                      TM
